Case: 1:20-cv-04985 Document #: 187-2 Filed: 05/18/22 Page 1 of 8 PageID #:1374




       EXHIBIT 2
  Case: 1:20-cv-04985 Document #: 187-2 Filed: 05/18/22 Page 2 of 8 PageID #:1375




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ZHU ZHAI HOLDINGS LIMITED and             )
PETER PUI TAK LEE,                        )
                     Plaintiffs,          )
                                          )
       v.                                 ) Case No. 20-cv-4985
                                          )
STEVEN IVANKOVICH,                        )
                            Defendant.    )

       ALIAS CITATION TO DISCOVER ASSETS TO STEVEN IVANKOVICH

ZU ZHAI HOLDINGS LIMITED and
PETER PUI TAK LEE
________________________________
Judgment Creditors

       v.

STEVEN IVANKOVICH
________________________________
Judgment Debtor

Judgment Debtors’ last known address:
STEVEN IVANKOVICH
382 NE 191st Street
Miami, FL 33179

Judgment Creditors’ Address c/o Their Attorney:
Amir Tahmassebi, Bar #6287787
Konicek & Dillon, P.C.
70 W. Madison, Suite 2060
Chicago, IL 60602
(312) 328-9166 (Direct)
(630) 262-9659 (Fax)
amir@konicekdillonlaw.com

Steven Lammers, Bar #6294413
Mandel Rauch & Lammers, P.C.
704 Adams Street, Suite F
Carmel, IN 46032
(317) 581-7440 (Direct)
(317) 848-6197 (Fax)
slammers@mhmrlaw.com                                                         EXHIBIT
                                             1                                      2
  Case: 1:20-cv-04985 Document #: 187-2 Filed: 05/18/22 Page 3 of 8 PageID #:1376




A judgment in favor of ZU ZHAI HOLDINGS LIMITED and PETER PUI TAK LEE against
STEVEN IVANKOVICH in the amount of FOUR MILLION FIVE HUNDRED AND THREE
THOUSAND EIGHT HUNDRED FORTY-TWO DOLLARS ($4,503,842.00), plus post-
judgment interest, was entered August 17, 2021, in the United States District Court for the
Northern District of Illinois. The amount of the unpaid judgment as of December 28, 2021 is
$4,651,543.34.

Attorneys for Judgment Creditors:
Amir Tahmassebi, Bar #6287787
Konicek & Dillon, P.C.
70 W. Madison, Suite 2060
Chicago, IL 60602
(312) 328-9166 (Direct)
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(317) 581-7440 (Direct)
(317) 848-6197 (Fax)
slammers@mhmrlaw.com

Name of party to receive citation:

       STEVEN IVANKOVICH
       c/o Jason M. Wandner
       100 N. Biscayne Boulevard, Suite 1607
       Miami, FL 33132
       Email: jason@wandnerlaw.com


NOTICE: You are directed to appear in court to be examined for the purpose of allowing the
judgment creditor to discover income and assets belonging to you or in which the judgment debtor
has an interest as set forth below:

Hearing Date/Time/Location

April 19, 2022, at 10:30 a.m.
Courtroom 1241, Honorable Sharon Johnson Coleman
U.S. District Court for the Northern District of Illinois
219 South Dearborn Street
Chicago, IL 60604

The Citation was issued on the basis of a judgment against the judgment debtor and in favor of
the judgment creditors in the amount stated above.
                                               2
   Case: 1:20-cv-04985 Document #: 187-2 Filed: 05/18/22 Page 4 of 8 PageID #:1377




NOTICE: The court has issued a Citation against the party named above, The Citation directs
that person to appear in court to be examined for the purpose of allowing the judgment creditor
to discover income and assets belonging to the judgment debtor or in which the judgment debtor
has an interest. The Citation was issued on the basis of a judgment against the judgment debtor
and in favor of the judgment creditors in the amount stated above. On or after the court date
stated above, the court may compel the application of any discovered accounts toward payment
of the judgment. If you do not answer or come to the court date listed above, the judge may do
one of two things: 1) issue a rule to show cause, or 2) enter a conditional judgment. If there is a
rule to show cause court date, you will have to explain why you did not come to court on the
court date and why you should not be found in contempt of court. If you do not come to the rule
to show cause on the set court date, the judge may find you in contempt, and you might be
arrested and jailed. If the court enters a conditional judgment, you will have 30 days to answer or
appear. If you fail to do so, then the court may enter a final judgment against you.

At your Citation hearing, you will be asked about your property and income. You will be
sworn to tell the truth.

You are ordered to bring these documents at the court date:
   • Federal and state income taxes for the last 2 years; The Federal Tax Returns of 2021 and 2020 are on extenstion and have not been filed.
   • Recent pay stubs or proof of income; None
   • Bank records; I have no bank accounts in my name.
   • Title to motor vehicles; I have no vechicle title.
   • Deed to any property you own; AND Iand               own property as tennant by entirety with wife Jeanette located at 235 W. Menomonee Street P.I. N. 14-33-413-004-0000
                                                              14-33-413-017 -0000. I do not jave a copy of the deed. My counsel will try to secure a copy and provide it to counsel
   • Insurance Policies. None (assuming this request if for information about life insurance).

The amount of income or assets that may be applied toward the judgment is limited by federal
and Illinois law. YOU HAVE THE RIGHT TO ASSERT STATUTORY EXEMPTIONS
AGAINST CERTAIN INCOME OR ASSETS OF THE JUDGMENT DEBTOR WHICH MAY
NOT BE USED TO SATISFY THE JUDGMENT IN THE AMOUNT STATED ABOVE:

           (1) Money or belongings up to $4,000 (“wildcard exemption”);
           (2) Social Security and SSI benefits;
           (3) Public assistance benefits;
           (4) Child support;
           (5) Unemployment compensation benefits;
           (6) Worker’s compensation benefits;
           (7) Veteran’s benefits;
           (8) Circuit breaker property tax relief benefits;
           (9) Your equity interest, up to $2,400, in any one motor vehicle;
           (10) Your equity interest, up to $1,500, in any professional books, or tools of trade;
           (11) Pension and retirement benefits and refunds; AND
           (12) Your equity interest, up to $15,000.00 in the house in which you live.

There are specific exemptions for wages. Under Illinois law, the amount of wages that may be
taken to pay a judgment is limited to the lower of: 1) 15% of your gross wages, or 2) the amount
by which your weekly wages, after deductions for taxes and other allowed deductions, is greater
                                                 3
     Case: 1:20-cv-04985 Document #: 187-2 Filed: 05/18/22 Page 5 of 8 PageID #:1378




   than 45 times the minimum wage (currently $371.25 for one week; $742.50 for two weeks;
   $804.37 for semi-monthly wages; and $1,608.75 for a month). Federal law allows the lesser of 1)
   25% of disposable wages; or 2) the amount by which disposable earnings for a week is greater
   than 30 times the federal minimum wage.

   The judgment debtor may have other possible exemptions under the law.

   I certify this Citation Notice was sent by e-mail transmission, to judgment debtor, Steven
   Ivankovich, via his attorney, Jason Wandner, on April 13, 2022.

   I certify that everything in this Citation to Discover Assets to Steven Ivankovich is true and
   correct. I understand that making a false statement on this form is perjury and has penalties
   provided by law.

                                                 /s/ Amir R. Tahmassebi
                                                 Preparer’s Signature
   Preparing Attorney’s Name:
   Amir Tahmassebi, Bar #6287787
   Konicek & Dillon, P.C.
   70 W. Madison, Suite 2060
   Chicago, IL 60602
   (312) 328-9166 (Direct)
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                                         CLERK, UNITED STATES DISTRICT COURT,
                                         NORTHERN DISTRICT OF ILLINOIS




THOMAS G. BRUTON, CLERK

                                                                             April 13, 2022
                                                    4
(By) DEPUTY CLERK                                                            DATE
                                                                           divorce case pending



                                                                                          who does not live with me.
                                                                              who currently do not live with me.
To further clarify, this response the "support " payments are made from borrowed funds or funds advanced to me by my parents.




 Although not requested in these citations I do own membership interests in many limited liability companies
note a foreclosure is case is pending in Cook County Ill. on this property
